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                              IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF NEW MEXICO

JOHN PAUL JONES,

                 Plaintiff,

v.                                                                     No. 1:19-cv-00477-JHR

ALEX AZAR, Secretary,
Department of Health and Human Services,

                 Defendant.

                                    ORDER TO SHOW CAUSE

          THIS MATTER comes before the Court on Plaintiff's Complaint for a Civil Case [Doc. 1],

filed May 23, 2019 (“Complaint”).

          Plaintiff has filed three actions against the Secretary of the Department of Health and

Human Services (“HHS Secretary”), the first being filed on July 9, 2015. See Jones v. Burwell,

No. 1:15-cv-00594-JAP-LF (D.N.M.) (“First Action”). Plaintiff's First Action is based on alleged

wrongful denial of employment due to age discrimination with “irrefutable proof to this assertion

[being] the sworn testimony of Ms. Carla Boudreau.” [Doc.1, p. 2], filed July 9, 2015 in First

Action.

          Plaintiff initiated a second action against the HHS Secretary on September 22, 2017. See

Jones v. Price, No. 1:17-cv-00970-JB-KK (D.N.M.) (“Second Action”). The Statement of Claim

in the Second Action states:

          Age Discrimination in employment is illegal. HHS maintains an illegal policy of
          age discrimination for overseas Public Health Advisor positions, refusing to hire
          anyone over 59 years of age. The irrefutable evidence of this policy is the affidavit
          of a senior HHS hiring authority, Ms. Carla Boudreau. This case involves Plaintiff's
          application for an overseas Public Health Advisor position. This matter was
          properly raised before the EEO, and was Procedurally Dismissed due to their
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       erroneous assertion that the claim was brought before the MSPB. It was NOT
       raised before the MSPB.

Complaint at 4 (underlining added). Plaintiff's Second Action is currently pending on appeal.

       In this the third and current action against the HHS Secretary (“Third Action”), the

Statement of Claim in the Complaint states:

       Age Discrimination in employment is illegal. HHS maintains an illegal policy of
       age discrimination for overseas Public Health Advisor positions, since 2006,
       refusing to hire anyone over 59 years of age. The irrefutable evidence of this policy
       is the affidavit of a senior HHS hiring authority, Ms. Carla Boudreau. This case
       involves Plaintiff's application for an overseas Public Health Advisor position. This
       matter was properly raised before the EEO, case 540-2018-00160X. Both fraud
       and false representation by the Agency and the EEO were involved. Final letter
       from Ms. Richards-Crooks, confirming dismissal of complaint, was received
       February 27, 2019. Thus this filing is within the 90-day time limit for a civil action.

Complaint at 4 (underlining added). The Statements of Claim in the Second Action and the Third

Action are identical except for the underlined portions. All three actions appear to arise from

Plaintiff being “unlawfully denied employment since 2006.” [Doc. 1, p. 4].

       For the Court to have subject-matter jurisdiction over Plaintiff's age-discrimination claim,

Plaintiff had to exhaust the Equal Employment Opportunity Commission's (“EEOC”) available

administrative remedies. See Hankishiyev. ARUP Laboratories, 732 Fed.Appx. 673, 677 (10th

Cir. 2018) (“The party invoking federal jurisdiction bears the burden of establishing such

jurisdiction as a threshold matter”); see also Oklahoma Turnpike Authority v. Bruner, 259 F.3d

1236, 1241 (10th Cir. 2001) (“If the parties do not raise the question of lack of jurisdiction, it is

the duty of the federal court to determine the matter sua sponte”).

       To assist the Court in determining whether the Court has subject-matter jurisdiction over

Plaintiff's age-discrimination claim, Plaintiff shall, within 21 days of entry of this Order, file a

response which:




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       1.      Lists and describes all adverse employment actions, including the dates of those

               actions, that Plaintiff alleges Defendant has taken against Plaintiff and which

               violate the Age Discrimination in Employment Act.

       2.      Lists all the charges, complaints, questionnaires, and other documents Plaintiff has

               filed with the EEOC regarding Defendant's alleged age-discrimination against

               Plaintiff. Plaintiff shall attach copies of those documents to his response to this

               Order.

       3.      Lists all the final determination letters, dismissal and notice of rights, and any other

               documents Plaintiff has received from the EEOC regarding the EEOC's

               investigations and determinations of Plaintiff's claims. Plaintiff shall attach copies

               of those documents to his response to this Order.

       4.      Lists and describes all the factual differences between this action and the Second

               Action; i.e. what facts that form the basis of this action were not part of the Second

               Action, Jones v. Price, No. 1:17-cv-00970-JB-KK.

       5.      Shows cause why this case should not be dismissed for lack of subject-matter

               jurisdiction.

       6.      Explains why the decision in the Second Action, Jones v. Price, No. 1:17-cv-

               00970-JB-KK, subject to the pending decision by the Tenth Circuit Court of

               Appeals, does not settle the issue raised in this action.

Failure to timely comply with this Order may result in dismissal of this case.

Compliance with Rule 11

       The Court reminds Plaintiff of his obligations under Rule 11 of the Federal Rules of Civil

Procedure. See Yang v. Archuleta, 525 F.3d 925, 927 n. 1 (10th Cir. 2008) (“Pro se status does



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not excuse the obligation of any litigant to comply with the fundamental requirements of the

Federal Rules of Civil and Appellate Procedure.”). Rule 11(b) provides:

       Representations to the Court. By presenting to the court a pleading, written
       motion, or other paper--whether by signing, filing, submitting, or later advocating
       it--an attorney or unrepresented party certifies that to the best of the person's
       knowledge, information, and belief, formed after an inquiry reasonable under the
       circumstances:

       (1) it is not being presented for any improper purpose, such as to harass, cause
       unnecessary delay, or needlessly increase the cost of litigation;

       (2) the claims, defenses, and other legal contentions are warranted by existing law
       or by a nonfrivolous argument for extending, modifying, or reversing existing law
       or for establishing new law;

       (3) the factual contentions have evidentiary support or, if specifically so identified,
       will likely have evidentiary support after a reasonable opportunity for further
       investigation or discovery; and

       (4) the denials of factual contentions are warranted on the evidence or, if
       specifically so identified, are reasonably based on belief or a lack of information.

Fed. R. Civ. P. 11(b). Failure to comply with the requirements of Rule 11 may subject Plaintiff to

sanctions, including monetary penalties and nonmonetary directives. See Fed. R. Civ. P. 11(c).

       IT IS ORDERED that Plaintiff shall, within 21 days of entry of this Order to Show Cause,

file a response to this Order to Show Cause.



                                               _____________________________________
                                               JERRY H. RITTER
                                               UNITED STATES MAGISTRATE JUDGE




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